        Case 5:24-cv-07885-EJD           Document 42     Filed 01/01/25   Page 1 of 11



 1    Steven P. Lehotsky*                              Bradley A. Benbrook (SBN 177786)
      Scott A. Keller*                                 Stephen M. Duvernay (SBN 250957)
 2    Jeremy Evan Maltz*                               BENBROOK LAW GROUP, PC
 3    Shannon Grammel*                                 701 University Avenue, Suite 106
      LEHOTSKY KELLER COHN LLP                         Sacramento, CA 95825
 4    200 Massachusetts Avenue, NW, Suite 700          Telephone: (916) 447-4900
      Washington, DC 20001                             brad@benbrooklawgroup.com
 5    (512) 693-8350                                   steve@benbrooklawgroup.com
      steve@lkcfirm.com
 6    scott@lkcfirm.com
 7    jeremy@lkcfirm.com
      shannon@lkcfirm.com
 8
      Joshua P. Morrow*
 9    LEHOTSKY KELLER COHN LLP
      408 W. 11th Street, 5th Floor
10
      Austin, TX 78701
11    (512) 693-8350
      josh@lkcfirm.com
12
      Jared B. Magnuson*
13    LEHOTSKY KELLER COHN LLP
      3280 Peachtree Road NE
14
      Atlanta, GA 30305
15    (512) 693-8350
      jared@lkcfirm.com
16   * Admitted pro hac vice.
17   Attorneys for Plaintiff NetChoice
18                             UNITED STATES DISTRICT COURT
19                           NORTHERN DISTRICT OF CALIFORNIA

20   NETCHOICE,                                    Case No. 5:24-cv-07885-EJD

21                         Plaintiff,              PLAINTIFF’S MOTION FOR
                                                   INJUNCTION PENDING APPEAL
22          v.
23                                                 Date: TBD
     ROB BONTA, in his official capacity as        Time: TBD
24   Attorney General of California,               Judge: Hon. Edward J. Davila
                                                   Courtroom: TBD
25                         Defendant.
26

27

28
                 PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
         Case 5:24-cv-07885-EJD          Document 42         Filed 01/01/25      Page 2 of 11

 1
                                           NOTICE OF MOTION
 2
            Plaintiff NetChoice will submit an amended notice of motion setting forth the date and
 3
     time for hearing, if one is set by the Court.
 4
                                             RELIEF SOUGHT
 5
            Plaintiff NetChoice has appealed this Court’s order denying in part Plaintiff’s Motion for
 6
     Preliminary Injunction. ECF 39. NetChoice moves this Court for an injunction pending appeal to
 7
     prohibit Defendant from enforcing the following provisions in California Senate Bill 976 (2024)
 8
     (“Act” or “SB976”) against NetChoice’s covered members: Cal. Health & Safety Code §§ 27001,
 9
     27002(b)(2)-(5). This will prevent irreparable harm to NetChoice’s members, including the loss of
10
     its members’ First Amendment freedoms recognized by the Supreme Court in Moody v.
11
     NetChoice, 603 U.S. 707 (2024). And this injunction will maintain the status quo ante while the
12
     full appellate process plays out.
13
            This Court’s order conflicts with binding Supreme Court precedent. The Supreme Court
14
     just recognized that websites regulated by the Act disseminate protected expression to their users
15
     through their “personalized” and “individualized” feeds. Id. at 734. And the Supreme Court has
16
     long held that minors have a First Amendment “right to speak or be spoken to” in accessing pro-
17
     tected speech. Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 795 n.3 (2011). The Court’s order also
18
     conflicts with the holdings of at least five other district courts across the country that held similar
19
     laws violated the First Amendment. E.g., NetChoice, LLC v. Reyes, 2024 WL 4135626 (D. Utah
20
     Sept. 10, 2024); Comput. & Commc’n Indus. Ass’n v. Paxton, 2024 WL 4051786 (W.D. Tex. Aug.
21
     30, 2024) (“CCIA”); NetChoice, LLC v. Fitch, 2024 WL 3276409 (S.D. Miss. July 1, 2024);
22
     NetChoice, LLC v. Yost, 716 F. Supp. 3d 539 (S.D. Ohio 2024); NetChoice, LLC v. Griffin, 2023
23
     WL 5660155 (W.D. Ark. Aug. 31, 2023). Therefore, for the reasons explained below and in Plain-
24
     tiff’s previous briefing in support of its motion for a preliminary injunction,1 this Court should
25
     enjoin Defendant’s enforcement of §§ 27001, 27002(b)(2)-(5) against NetChoice’s covered mem-
26
     bers pending appeal of this Court’s order.
27
     1
28     Given the posture of this case and the fact that the Court rejected Plaintiff’s arguments in its
     motion for a preliminary injunction, NetChoice restates those arguments in brief here, incorporates
     the arguments raised in prior briefing by reference, see ECF 2, 29, and focuses mainly on the
     Court’s order.
                                          1
                  PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
        Case 5:24-cv-07885-EJD           Document 42        Filed 01/01/25      Page 3 of 11

 1
            Plaintiff intends to move for an injunction pending appeal in the United States Court of
 2
     Appeals for the Ninth Circuit if this Court does not rule before close of business on January 2,
 3
     2025. As Plaintiff’s uncontested declarations demonstrate, the Act would require burdensome and
 4
     large-scale changes to Plaintiff’s members’ services. See Cleland Decl. ¶¶ 28-32, 35; Veitch Decl.
 5
     ¶¶ 41, 48-49, 52; Paolucci Decl. ¶¶ 13, 19, 23-27. And those changes would restrict their users’
 6
     access to protected speech.
 7
            Counsel for Plaintiff conferred with Defendant about whether Defendant would agree to
 8
     stay enforcement of the un-enjoined provisions of SB976 against NetChoice’s members while
 9
     NetChoice sought injunctive relief pending appeal. Defendant would not agree to any stay of en-
10
     forcement of the non-enjoined provisions for any period of time. So without an injunction pending
11
     appeal, NetChoice’s covered members are at imminent risk of enforcement and irreparable harm.
12
     The Court should therefore grant this motion for an injunction pending appeal to maintain the
13
     status quo ante, giving the Ninth Circuit the opportunity to consider these important constitutional
14
     questions during a full appellate process.
15
                                                  ARGUMENT
16
            Plaintiff meets all four factors governing the issuance of an injunction pending ap-
17
     peal: (1) likelihood of success on the merits of the appeal; (2) the likelihood of irreparable harm
18
     absent an injunction; (3) the harm to opposing parties; and (4) the public interest. Feldman v. Ariz.
19
     Sec’y of State’s Office, 843 F.3d 366, 367 (9th Cir. 2016).
20
            I. Plaintiff Is Likely To Succeed On the Merits.
21
            NetChoice is likely to succeed on the merits. This Court correctly enjoined some provisions
22
     of SB976. See §§ 27002(a), 27002(b)(1), § 27005. But it erred and misinterpreted Supreme Court
23
     precedent in denying a preliminary injunction as to the other challenged SB976 provisions. In-
24
     deed,NetChoice needed only make “a colorable claim that its First Amendment rights have been
25
     infringed, or are threatened with infringement” to meet the “likelihood-of-success standard in [this]
26
     First Amendment case[].” Meinecke v. City of Seattle, 99 F.4th 514, 521 (9th Cir. 2024) (citation
27
     omitted) (emphasis added). NetChoice’s arguments against SB976 certainly surpassed that low
28
     bar in light of the binding Supreme Court precedent in Moody.


                                          2
                  PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
        Case 5:24-cv-07885-EJD          Document 42        Filed 01/01/25      Page 4 of 11

 1
            A. As explained more fully in Plaintiff’s preliminary injunction briefing, the Act restricts
 2
     NetChoice members’ rights to disseminate protected speech—and users’ access to, and engage-
 3
     ment with, protected speech. See ECF 2 at 10-23; ECF 29 at 1-14. The Act’s parental consent
 4
     requirements to access protected speech, §§ 27001(a), 27002(b)(2), are unconstitutional. See
 5
     Brown, 564 U.S. at 794 (rejecting parental-consent requirement); ECF 2 at 12-15; ECF 29 at 9, 11.
 6
     Similarly, the Act’s default settings restrict speech and are subject to strict scrutiny. See FEC v.
 7
     Cruz, 596 U.S. 289, 305 (2022) (“When the Government restricts speech, the Government bears
 8
     the burden of proving the constitutionality of its actions.”); ECF 2 at 11-19; ECF 29 at 3, 11.
 9
     Compounding the constitutional defects, the Act restricts protected speech through a content-based
10
     and speaker-based coverage definition of state-disfavored websites, which also triggers strict scru-
11
     tiny. ECF 2 at 16-19; ECF 29 at 7-10. These challenged provisions are not the least restrictive
12
     means to achieve the State’s interest, they are both over and underinclusive, and they fail any form
13
     of First Amendment scrutiny. ECF 2 at 19-23; ECF 29 at 11-13. Likewise, the Act’s central cov-
14
     erage provision is unconstitutional vague. ECF 2 at 24; ECF 29 at 14.
15
            B. The Court’s contrary decision refusing to enjoin all of the Act’s speech restrictions was
16
     based in large part on an erroneous interpretation of the Supreme Court’s decision in Moody. See
17
     ECF 39 at 14-23. Moody holds that websites like those regulated by this Act necessarily engage in
18
     First Amendment protected expression by presenting personalized, curated compilations of speech
19
     created by others.
20
            This Court’s holding conflicts with multiple passages from Moody showing that personal-
21
     ized feeds of social media websites—including specifically the main feeds of “Facebook” and
22
     “YouTube”—are protected First Amendment expression by the covered websites. Moody, 603
23
     U.S. at 734-35, 739-40. This Court concluded that NetChoice “failed to meet its burden of demon-
24
     strating . . . that most or all personalized feeds covered by SB 976 are expressive and therefore
25
     implicate the First Amendment.” ECF 39 at 15. But Moody already decided that key point. Web-
26
     sites like those covered by SB976, and expressly referenced by Moody, receive First Amendment
27
     protection because their “personalized” and “individualized” feeds constitute protected expres-
28
     sion—including when they use “algorithms” to implement their editorial policies, even if “most


                                          3
                  PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
        Case 5:24-cv-07885-EJD           Document 42        Filed 01/01/25      Page 5 of 11

 1
     often” websites choose to display speech based on a “user’s expressed interests”:
 2
            And whenever a user signs on, Facebook delivers a personalized collection of those stories.
 3          Similarly for YouTube. . . . And any person opening the website or mobile app receives an
            individualized list of video recommendations. The key to the scheme is prioritization of
 4          content, achieved through the use of algorithms. Of the billions of posts or videos (plus
            advertisements) that could wind up on a user’s customized feed or recommendations list,
 5          only the tiniest fraction do. The selection and ranking is most often based on a user’s ex-
            pressed interests and past activities. But it may also be based on more general features of
 6          the communication or its creator. Facebook’s Community Standards and YouTube’s Com-
            munity Guidelines detail the messages and videos that the platforms disfavor. The plat-
 7          forms write algorithms to implement those standards—for example, to prefer content
            deemed particularly trustworthy or to suppress content viewed as deceptive (like videos
 8          promoting “conspiracy theor[ies]”).
 9   Moody, 603 U.S. at 734-35 (emphases added). This language from Moody makes clear that when
10   websites—like NetChoice’s covered members—use “personalized” feeds to “[d]ecid[e] on the
11   third-party speech that will be included in” a feed and “organiz[e] and present[] the including
12   items” in that feed to users in a particular way, that “is expressive activity of [their] own.” Id. at
13   731. So governments “restricting use of personalized feeds . . . alter[s] the overall speech environ-
14   ment” on covered websites, which changes the “message” those websites convey to users and that
15   users receive from websites. ECF 39 at 19. Under Moody, personalized feeds thus constitute cov-
16   ered websites’ own expression, and that expression is disseminated to and accessed by websites’
17   users. The First Amendment protects all of this. Therefore, this Court’s holding is directly contrary
18   to both the Supreme Court’s decision in Moody, 603 U.S. at 734-35, 739-40; as well as Ninth
19   Circuit precedent following Moody, see Children’s Health Def. v. Meta Platforms, Inc., 112 F.4th
20   742, 759 (9th Cir. 2024) (“When the platforms use their Standards and Guidelines to decide which
21   third-party content [their] feeds will display, or how the display will be ordered and organized,
22   they are making expressive choices. And because that is true, they receive First Amendment pro-
23   tection.” (quoting Moody, 603 U.S. at 740)).
24          The Supreme Court in Moody also held that its prior editorial-discretion precedents, like
25   the newspaper case, Miami Herald Publishing Co. v. Tornillo, 418 U.S. 241 (1974), applied to
26   social media websites, Moody, 603 U.S. at 738. The Supreme Court explained that the “wealth of
27   choices about whether—and if so, how—to convey posts” gives a “feed a particular expressive
28   quality.” Id. (emphasis added). And this holds true both “[f]or a paper, and for a platform too.” Id.



                                          4
                  PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
         Case 5:24-cv-07885-EJD          Document 42        Filed 01/01/25      Page 6 of 11

 1
     This Court’s attempt to distinguish those cases like Tornillo, Hurley, and PG&E was thus squarely
 2
     rejected by Moody. Id. at 738-40.
 3
            Likewise, this Court’s reliance (ECF 39 at 16-17) on PruneYard Shopping Ctr. v. Robins,
 4
     447 U.S. 74 (1980), and Rumsfeld v. Forum for Acad. & Institutional Rts., Inc., 547 U.S. 47 (2006),
 5
     is wholly misplaced under Moody. Moody explicitly recognized that “the key fact in those cases . . .
 6
     was that the host of the third-party speech was not itself engaged in expression,” but the exact
 7
     “opposite” was true for services such as “Facebook’s News Feed and YouTube’s homepage.”
 8
     Moody, 603 U.S. at 740.
 9
            This Court erred in reading far too much into Moody reserving judgment on the First
10
     Amendment implications regarding “feeds whose algorithms respond solely to how users act
11
     online” and largely limited its analysis of personalized feeds to that issue. ECF 39 at 18 (emphasis
12
     added). To start, Moody made clear that the “personalized” feeds utilizing “algorithms” on “Face-
13
     book” and “YouTube” are protected expression. Moody, 603 at 734 (“And whenever a user signs
14
     on, Facebook delivers a personalized collection of those stories. Similarly for YouTube. . . . And
15
     any person opening the website or mobile app receives an individualized list of video recommen-
16
     dations. The key to the scheme is prioritization of content, achieved through the use of algorithms.”
17
     (emphases added)). This Court thus fundamentally erred in refusing to enjoin the challenged pro-
18
     visions—at a bare minimum—to the main feeds of Facebook and YouTube. This error likewise
19
     infected the Court’s refusal to enjoin the challenged provisions as applied to personalized feeds
20
     disseminated by other NetChoice members that similarly use community guidelines reflecting hu-
21
     man-created editorial policies.2 This Court assumed that the facial challenge was no different from
22
     the as-applied challenge. ECF 39 at 31-32. But the as-applied challenge necessarily implicates this
23
     record evidence about NetChoice’s members. The uncontested record evidence shows that covered
24
     NetChoice members do not display content to users based “solely” on “how users act online.”
25

26
     2
27     The Court was right to recognize that “an algorithm designed to convey a message can be ex-
     pressive,” but that is true whether the algorithm’s creator designed it to “recommend[] interesting
28   posts” or to “maximize engagement.” ECF 39 at 20. Relatedly, the district court ignored Moody
     by asserting that “mixed” feeds, ECF 39 at 21—i.e., that both implement editorial policies while
     also displaying speech based on user interest and activities—may not be protected by the First
     Amendment. Moody, 603 U.S. at 734-35.
                                          5
                  PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
        Case 5:24-cv-07885-EJD            Document 42         Filed 01/01/25       Page 7 of 11

 1
     Moody, 603 U.S. at 736 n.5. As explained in Plaintiff’s reply in support of its motion for a prelim-
 2
     inary injunction, ECF 29 at 5, that is not how content-moderation algorithms work. The uncon-
 3
     tested record evidence shows that covered NetChoice members display content in feeds according
 4
     to their own editorial policies developed by humans, which include efforts to “prioritize minor
 5
     safety and display only age-appropriate content.” Cleland Decl. ¶ 8; id. ¶ 23 (detailing content-
 6
     moderation efforts); e.g., Davis Decl. ¶¶ 12, 34-35; Veitch Decl. ¶¶ 21, 24-30.
 7
             Regardless, the Court erred in holding that “[w]hen it comes to feeds that recommend posts
 8
     based solely on prior user activity, there is no apparent message being conveyed.” ECF 39 at 19.
 9
     Displaying speech based on user preference is an editorial “choice[] about what third-party speech
10
     to display and how to display it,” so it should be fully protected by the First Amendment. Moody,
11
     603 U.S. at 716. After all, “it is hardly unusual for publications to print matter that will please their
12
     subscribers,” and this does not vitiate free-speech rights. Reuber v. Food Chem. News, Inc., 925
13
     F.2d 703, 716 (4th Cir. 1991) (en banc).
14
             The Court’s erroneous interpretation of Moody and holding with respect to the expression
15
     of personalized feeds also affects its incorrect holding regarding the Act’s restrictions on users’
16
     access to protected speech. ECF 39 at 22. For the reasons explained above, the Court erred by
17
     concluding that because “personalized feeds are not necessarily a form of social media platforms’
18
     speech, so restricting personalized feeds does not restrict access to those platforms’ speech.” Id.
19
     Likewise, the Court erred in concluding that users’ rights are not infringed because “all posts are
20
     still, in fact, available to all users under SB 976.” Id. That statement misapprehends the full burden
21
     of the Act. Users have a First Amendment right to access compilations of speech that websites
22
     present in a manner according to their preferences. The Act infringes that.
23
             C. At a minimum, this Court should have enjoined the personalized feed provisions as
24
     applied to NetChoice’s members. The analysis for the as-applied challenge is different—it only
25
     requires a court to analyze the Act’s effect on NetChoice’s covered members.
26
             The Court erred in holding that NetChoice lacked associational standing to bring its as-
27
     applied claims. ECF 39 at 32. Contrary to this Court’s holding, this challenge does not require the
28
     participation of individual members. Id. At the very minimum, Moody requires that an injunction


                                          6
                  PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
        Case 5:24-cv-07885-EJD           Document 42         Filed 01/01/25      Page 8 of 11

 1
     be granted to Facebook and YouTube’s main feeds. See Moody, 603 U.S. at 734.
 2
            Moreover, as to NetChoice’s other covered members, the challenges to the Act’s person-
 3
     alized feed provisions do not “require deep factual inquiries into how a particular social media
 4
     feed works.” ECF 39 at 32. As explained above, the uncontested record evidence—submitted con-
 5
     temporaneously with Plaintiff’s preliminary-injunction motion—shows that these other covered
 6
     websites are in the materially identical position under Moody as Facebook and YouTube’s main
 7
     feeds. As explained in Plaintiff’s supplemental brief, this case can be decided “without the partic-
 8
     ipation of individual” members as parties because the Act ‘imposes relatively uniform require-
 9
     ments on all Plaintiff’s covered members.’” ECF 33 at 3 (quoting CCIA, 2024 WL 4051786, at
10
     *3).
11
            D. NetChoice is also likely to succeed on the merits of its argument that the Act’s default
12
     settings violate the First Amendment. The Court correctly enjoined the default setting for notifi-
13
     cations, § 27002(b)(1), but it erred in declining to enjoin the remaining default settings. The default
14
     settings restricting personalized feeds, § 27002(b)(2), (4), should be enjoined for the reasons ex-
15
     plained above. As this Court recognized, those provisions “are effectively duplicative of SB 976’s
16
     personalized feed . . . provisions.” ECF 39 at 28. Because the personalized feed provisions fail
17
     under Moody, the duplicative default settings must be enjoined as well.
18
            Likewise the default setting limiting a “child’s ability to view the number of likes or other
19
     forms of feedback to pieces of media within an addictive feed,” § 27002(b)(3), should be enjoined
20
     because it too restricts First Amendment expression. The Court stated that it “sees little apparent
21
     expressive value in displaying a count of the number of total likes and reactions.” ECF 39 at 28.
22
     But this runs headlong into Moody: this default setting on the number of likes or other feedback
23
     violates covered websites’ First Amendment rights to display how many people like or otherwise
24
     react to their posts. See supra pp.3-4. And the number of likes or other reactions—such as dislikes,
25
     sad reactions—has clear expressive value, showing users how others have responded. Thus, far
26
     from “virtually no speech being blocked,” ECF 39 at 29, a key aspect of expression is unavailable
27
     by default for minor users’ accounts. And the fact that the underlying reactions are still available
28
     does not make the restriction properly tailored. To the contrary, that shows it is underinclusive as


                                          7
                  PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
        Case 5:24-cv-07885-EJD          Document 42           Filed 01/01/25   Page 9 of 11

 1
     to preventing minors from seeing likes and reactions and overinclusive as to blocking all counting
 2
     of reactions (whether positive or negative reactions).
 3
            The “private mode” default setting, § 27002(b)(5), should be enjoined because it restricts
 4
     with whom a minor user can speak. As this Court noted, this provision “obviously regulates speech
 5
     because it limits the ability of users to speak with minors on social media platforms.” ECF 39 at
 6
     29. The Court nevertheless found this provision of the Act to be constitutional. But it cannot sur-
 7
     vive any level of heightened First Amendment scrutiny because it is not properly tailored. It is
 8
     overinclusive as it applies to all covered websites and minor users, regardless of why they are
 9
     using a particular service. For example, a high school athlete would be hindered from speaking
10
     with recruiters on X and a 17-year-old running a pet sitting business could face hurdles to interact
11
     with clients on Nextdoor. It is also underinclusive as it does not prevent strangers from requesting
12
     to connect with minor users.
13
            E. Finally, the Court erred in concluding that the Act’s coverage provision is not vague.
14
     ECF 39 at 33. The Court did not grapple with the record evidence about the difficulties websites
15
     face about what constitute “addictive feed[s]” requiring age verification and parental consent.
16
     § 27000.5(b); see Cleland Decl. ¶ 27; Paolucci Decl. ¶ 12. This difficulty is precisely why other
17
     district courts held similar terms unconstitutionally vague. See Griffin, 2023 WL 5660155, at *13,
18
     Fitch, 2024 WL3276409, at *15; ECF 2 at 24.
19
                                              *       *         *
20
            For these reasons, NetChoice is likely to succeed on the merits that the Act’s restrictions
21
     of personalized feeds violate the First Amendment. And even if the Court disagrees with Plaintiff
22
     on the merits, the language from Moody cited above certainly demonstrates that Plaintiff meets the
23
     low bar of “of making a colorable claim that [their] First Amendment rights have been infringed,
24
     or are threatened with infringement.” Meinecke, 99 F.4th at 521 (citation omitted) (emphasis
25
     added). In light of that standard at this stage of the proceedings and the holding of Moody, an
26
     injunction pending appeal is “appropriate” here “even if the Court believed its analysis in denying
27
     preliminary injunctive relief is correct.” Am. Beverage Ass’n v. City & Cnty. of San Francisco,
28
     2016 WL 9184999, at *2 (N.D. Cal. June 7, 2016).


                                          8
                  PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
       Case 5:24-cv-07885-EJD           Document 42        Filed 01/01/25      Page 10 of 11

 1
            II. Plaintiff’s members face irreparable injury without an injunction.
 2
            As explained in Plaintiff’s preliminary-injunction motion, NetChoice’s members and their
 3
     users will all suffer irreparable harm if the Act’s challenged provisions are not enjoined. See ECF 2
 4
     at 25. The Act’s “nonrecoverable” compliance costs impose irreparable injury. Ohio v. EPA, 144
 5
     S. Ct. 2040, 2053 (2024) (citation omitted). Plaintiff and its members have detailed the changes to
 6
     covered websites’ operations that compliance with the Act will require. See Cleland Decl. ¶¶ 28-
 7
     32, 35; Veitch Decl. ¶¶ 41, 48-49, 52. For some websites, SB976’s costs may be insurmountable.
 8
     Paolucci Decl. ¶ 27; see id. ¶¶ 13, 19, 23-26. Plus, “[t]he loss of First Amendment freedoms, for
 9
     even minimal periods of time, unquestionably constitutes irreparable injury.” Roman Catholic Di-
10
     ocese of Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020) (citation omitted); ECF 39 at 28 (holding that
11
     NetChoice would “suffer irreparable harm from First Amendment violations”).
12
            III. The balance of equities and public interest support an injunction pending appeal.
13
            The balance of equities and public interest favor NetChoice. The same equitable consider-
14
     ations the Court found with respect to the notification restrictions apply to the other provisions of
15
     the Act. See ECF 39 at 28 (“There is a strong public interest in protecting free speech.”). Injunc-
16
     tions protecting First Amendment rights are in the public interest. The Ninth Circuit has “consist-
17
     ently recognized the significant public interest in upholding First Amendment principles.” Doe v.
18
     Harris, 772 F.3d 563, 583 (9th Cir. 2014) (citation omitted). And the “fact that [Plaintiff] ha[s]
19
     raised serious First Amendment questions compels a finding that . . . the balance of hardships tips
20
     sharply in [Plaintiff’s] favor.” Cmty. House, Inc. v. City of Boise, 490 F.3d 1041, 1059 (9th Cir.
21
     2007) (cleaned up).
22
            At bottom, an injunction pending appeal would “preserve[] the status quo prior to the re-
23
     cent legislative action” while the Ninth Circuit considers these important First Amendment ques-
24
     tions. Feldman, 843 F.3d at 369.
25
                                              CONCLUSION
26
            Accordingly, Plaintiff respectfully requests this Court enjoin Defendant’s enforcement of
27
     Sections 27001 and 27002(b)(2)-(5) pending appeal of this Court’s order granting in part and deny-
28
     ing in part Plaintiff’s Motion for Preliminary Injunction.


                                          9
                  PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
      Case 5:24-cv-07885-EJD      Document 42       Filed 01/01/25   Page 11 of 11

 1
     DATED: January 1, 2025
 2
                                             s/ Scott A. Keller
 3                                           Scott A. Keller*
     Bradley A. Benbrook (SBN 177786)
 4   Stephen M. Duvernay (SBN 250957)        Steven P. Lehotsky*
     BENBROOK LAW GROUP, PC                  Jeremy Evan Maltz*
 5   701 University Avenue, Suite 106        Shannon Grammel*
     Sacramento, CA 95825                    LEHOTSKY KELLER COHN LLP
 6                                           200 Massachusetts Avenue, NW,
     Telephone: (916) 447-4900
     brad@benbrooklawgroup.com                 Suite 700
 7                                           Washington, DC 20001
     steve@benbrooklawgroup.com
 8                                           (512) 693-8350
     Joshua P. Morrow*                       scott@lkcfirm.com
 9   LEHOTSKY KELLER COHN LLP                steve@lkcfirm.com
     408 W. 11th Street, 5th Floor           jeremy@lkcfirm.com
10                                           shannon@lkcfirm.com
     Austin, TX 78701
11   (512) 693-8350
     josh@lkcfirm.com
12
     Jared B. Magnuson*
13   LEHOTSKY KELLER COHN LLP
14   3280 Peachtree Road NE
     Atlanta, GA 30305
15   (512) 693-8350
     jared@lkcfirm.com
16
     * Admitted pro hac vice.
17

18                              Attorneys for Plaintiff NetChoice

19

20

21

22

23

24

25

26

27

28



                                        10
                PLAINTIFF’S MOTION FOR INJUNCTION PENDING APPEAL
